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     Federal Public Defender
 2   Nevada State Bar No. 11479
     BENJAMIN F. J. NEMEC
 3   Assistant Federal Public Defender
     Nevada State Bar No. 14591
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 6   Ben_Nemec@fd.org

 7   Attorney for Martin Romero-Gallegos

 8
                                   UNITED STATES DISTRICT COURT
 9
                                         DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                                Case No. 2:21-mj-00505-DJA

12                    Plaintiff,                              STIPULATION
                                                              ORDER           TO CONTINUE
                                                              PRELIMINARY HEARING
13             v.
                                                              (First Request)
14   MARTIN ROMERO-GALLEGOS,

15                    Defendant.

16
17             IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
18   Acting United States Attorney, and Jared Grimmer, Assistant United States Attorney, counsel
19   for the United States of America, and Rene L. Valladares, Federal Public Defender, and
20   Benjamin F. J. Nemec, Assistant Federal Public Defender, counsel for Martin Romero-
21   Gallegos, that the Preliminary Hearing currently scheduled on September 27, 2021, be vacated
22   and continued to a date and time convenient to the Court, but no sooner than ninety (90) days.
23             This Stipulation is entered into for the following reasons:
24             1.     Parties have entered negotiations and need the additional time to resolve this
25   matter.
26             2.     Defendant is incarcerated and does not object to a continuance.
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                                                     09/24/21 Page 2 of 3




 1          3.      Additionally, denial of this request for continuance could result in a
 2   miscarriage of justice.
 3          This is the first request for continuance filed herein.
 4          DATED this 24th day of September 2021.
 5
 6    RENE L. VALLADARES                               CHRISTOPHER CHIOU
      Federal Public Defender                          Acting United States Attorney
 7
 8
      By /s/ Benjamin F. J. Nemec                      By /s/ Jared Grimmer
 9    BEJAMIN F. J. NEMEC                              JARED GRIMMER
      Assistant Federal Public Defender                Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                           Case No. 2:21-mj-00505-DJA
 4
                   Plaintiff,                            ORDER
 5
            v.
 6
     MARTIN ROMERO-GALLEGOS,
 7
                   Defendant.
 8
 9
10          Based on the Stipulation of counsel and good cause appearing,

11          IT IS THEREFORE ORDERED that the Preliminary Hearing currently scheduled on

12   September 27, 2021 at the hour of 4:00 p.m., be vacated and continued to

13   _________________
     December 27, 2021,atat
                         the4:00
                             hourp.m.,
                                  of ___:___ __.m. 3A.
                                       Courtroom
                      27th
14         DATED this ____ day of September 2021.

15
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                                                 UNITED STATES MAGISTRATE JUDGE
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                                                      DANIEL J. ALBREGTS
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